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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
       JAMES E. KEENER,                  )          NO. CV 17-9182-GW (KS)
11                                       )
                       Plaintiff,
12                                       )
               v.                        )          ORDER DENYING PLAINTIFF’S
13                                       )          APPLICATION FOR A PRELIMINARY
14     RANCHO SIMI RECREATION AND )                 INJUNCTION (DKT. NO. 24)
                                         )
15     PARK DISTRICT, et al,             )
16                                       )
                       Defendant.
                                         )
17     _________________________________
18
19                                             INTRODUCTION

20
21           On December 22, 2017, Plaintiff, proceeding pro se, filed a civil rights complaint

22    pursuant to 42 U.S.C. § 1983. (Dkt. No. 1.) On February 15, 2018, pursuant to the parties’

23    stipulation, Plaintiff filed the operative First Amended Complaint (“FAC”). (Dkt. Nos. 30, 31.)

24    The FAC asserts claims for civil rights violations under 42 U.S.C. § 1983, violations of

25    California’s Bane Act (Cal. Civ. C. § 52.1), assault, battery, false arrest, false imprisonment,

26    intentional infliction of emotional distress, and negligence against the Rancho Simi Recreation

27    and Park District (“District”); Richard Ackerman (“Ackerman”) a park ranger; Sheldon

28    Kaminsky (“Kaminsky”), park ranger; Jerry Derosa (“Derosa”), a supervising ranger; Larry



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 1    Peterson (“Peterson”) as District Manager; Jean McCormick (“McCormick”), a park
 2    employee; and the Rancho Simi Recreation and Park District Board of Directors (“District
 3    Board”). (Id.)
 4
 5             On January 18, 2018, Plaintiff filed a Notice of Motion and Motion for Preliminary
 6    Injunction (the “Motion”) with a supporting Memorandum (“Memorandum”) (Dkt. Nos. 24,
 7    16, 18.) 1 On January 29, Plaintiff filed a Supplemental Memorandum in support of the Motion.
 8    (Dkt. No. 26.)          On February 7, 2018, Defendants filed an Opposition to the Motion
 9    (“Opposition” or “Oppo.”) and a Request for Judicial Notice in support of the Opposition.
10    (Dkt. Nos. 28, 29.) Plaintiff filed no reply. The Motion is now fully briefed. The Court finds
11    the matter is appropriate for resolution without oral argument.
12
13                       PLAINTIFF’S ALLEGATIONS AND FACTUAL BACKGROUND
14
15             This lawsuit arises out of an altercation in October 2017 between Plaintiff and
16    Ackerman at Strathearn Historical Park, a park owned and operated by the District in Simi
17    Valley, California. (FAC at 2.) Plaintiff alleges that on October 14, 2017 he drove to the park
18    to attend his niece’s wedding. His niece had a contract with the District to conduct her wedding
19    in the park and Plaintiff alleges that the contract allowed him drive his vehicle into the park to
20    drop of his passengers for the ceremony, including his elderly mother and a sister who was
21    disabled from a fractured leg. (Id.) Both family members were unable to walk more than a
22    short distance. (Id.)
23    //
24    //
25
26    1
               Plaintiff originally filed a Notice of Motion and Motion for Preliminary Injunction on January 16, 2018 (Dkt. No.
      16), with a Declaration of James E Keener (Dkt. No. 17) and two supporting memoranda (Dkt. Nos. 16, 18.) On January
27    18, 2018, Plaintiff withdrew the original motion (Dkt. No. 21) and on the same day filed the instant Motion (see Dkt. No.
      24.) He did not withdraw the two memoranda and they, along with the supplemental memorandum filed on January 29,
28    appear to be the supporting memoranda for the Motion at issue here.



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 1           Plaintiff also alleges that the under the contract, the District “was to provide security
 2    for the event, in the way of a park ranger.” (Id.) Plaintiff alleges that when he approached the
 3    park entrance in his vehicle, he noticed Ackerman in a patrol car, and after explaining to
 4    Ackerman that he needed to drive into the park to drop the disabled family members closer to
 5    the wedding venue, Ackerman granted Plaintiff access to the park, requesting that he “keep
 6    the van’s speed slow because [the District] had received complaints about blowing dust.” (Id.
 7    at 3.) Plaintiff alleges that as he was discharging his passengers, he was “accosted” by a civilian
 8    park employee who told him he needed to back his vehicle out of the park. When he told the
 9    employee that Ackerman had given permission for him to drive into the park, the employee
10    confronted Ackerman and told him that Plaintiff had been rude and discourteous. (Id. at 3-4.)
11
12           As the wedding reception concluded, when Plaintiff went back to the parking area to
13    get his vehicle so that he could pick up his family members, Ackerman allegedly told Plaintiff
14    that he could not drive back into the park. (Id. at 4.) When Plaintiff questioned Ackerman’s
15    authority to deny Plaintiff re-entry with his vehicle. Ackerman allegedly “pulled his pistol out
16    of its holster, placed it on his lap, and pointed the muzzle at Plaintiff.” (Id.) When Plaintiff
17    again questioned Ackerman’s legal authority to deny re-entry with his vehicle, Plaintiff alleges
18    that Ackerman shouted at Plaintiff, then “violently kicked opened the driver’s door of the
19    [District] patrol vehicle, striking Plaintiff in the abdomen with the sharp edge of the door and
20    causing Plaintiff to stumble backwards.” (Id. at 5.)
21
22           Following this altercation, Plaintiff alleges that he “was neither patted down, searched,
23    handcuffed, nor cited or formally arrested” and neither Ackerman nor Kaminsky—— another
24    armed ranger who arrived on the scene—“even asked for Plaintiff’s identification, even though
25    Ackerman had used force against Plaintiff including pointing a loaded weapon at Plaintiff’s
26    head.” (Id. at 6.)
27
28                                                THE MOTION


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 2           The Motion seeks an order restraining and enjoining “defendants from exercising peace
 3    officer powers pending trial of this action” (Dkt. No. 24.) Specifically, Plaintiff argues that
 4    Ackerman lacks the necessary qualifications to exercise limited peace officer powers that are
 5    part of his position as a park ranger with the District. (Memorandum at 3, [Dkt. No. 18.])
 6    Specifically, Plaintiff argues that Ackerman fails to meet Peace Officers Standards and
 7    Training (“POST”) requirements to serve as a peace officer and even though Plaintiff
 8    acknowledges that POST has no oversight over the District’s ranger program (id. at 3), he
 9    contends that under California Penal Code § 832, every peace officer, whether full or part-
10    time, “even those appointed by a special district that itself is not POST certified, is required to
11    be currently certified by POST . . . before exercising peace officer powers.” (Id. at 4.) Plaintiff
12    also contends that Ackerman has not been certified as a peace officer by POST since 2009.
13    (Id. at 5.) According to Plaintiff, the District only requires full-time rangers to be POST
14    certified and only one District ranger is full-time. (Id. at 7.)
15
16           Plaintiff argues that based on its policy of only requiring full-time rangers to be POST
17    certified, the District “is operating a rogue police agency with little to no oversight from the
18    public or government agencies and constitutes an ongoing threat to public safety.” (Id. at 8.)
19    In support of this assertion, Plaintiff points to two purported Ventura County Grand Jury
20    investigations in 2006-2007 and 2010-2011 that allegedly concluded, among other things, that
21    “the rangers were not much more than tax-payer funded highly-paid security guards.” (Id. at
22    8.) Based on the assertion that Ackerman is unqualified to exercise the authority of a “peace
23    officer” in his role as a ranger for the District, Plaintiff argues that Plaintiff and the public are
24    likely to suffer irreparable harm if the District “and its unqualified rangers” are not enjoined
25    from exercising peace officers powers pending trial. (Id. at 18.)
26
27           In the Opposition, Defendants respond that: (1) Plaintiff lacks standing to bring the
28    Motion for preliminary injunction because he is asserting a generalized grievance on behalf of


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 1    the public with respect to the District’s ranger qualification(s) policy (Oppo. at 8-14); and (2)
 2    even if standing were established, Plaintiff has not satisfied any of the legal elements necessary
 3    to obtain a preliminary injunction. (Id. at 14-20).
 4
 5           For the reasons discussed below, the Court agrees that Plaintiff has not met the standard
 6    to obtain a preliminary in junction and the Motion is DENIED with prejudice.
 7
 8                                            LEGAL STANDARD
 9
10             Under Federal Rule of Civil Procedure 65, the Court may grant a preliminary
11    injunction in order to prevent “immediate and irreparable injury.” FED. R. CIV. P. 65(b). The
12    party seeking such relief must establish that: (1) it is likely to succeed on the merits; (2) it is
13    likely to suffer irreparable harm absent preliminary relief; (3) the balance of equities weighs
14    in its favor; and (4) the injunction is in the public interest. See Winter v. Natural Res. Def.
15    Council, Inc., 555 U.S. 7, 20 (2008). Alternatively, if the plaintiff “shows that there is a
16    likelihood of irreparable injury and that the injunction is in the public interest,” he may
17    demonstrate his right to a preliminary injunction by establishing “serious questions going to
18    the merits and a balance of hardships that tips sharply [in his favor].” Farris v. Seabrook, 677
19    F.3d 858, 864 (9th Cir. 2012) (quoting Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127,
20    1135 (9th Cir.2011)). Because a “preliminary injunction is an extraordinary and drastic
21    remedy,” Munaf v. Geren, 553 U.S. 674, 676 (2008) (internal quotation marks omitted), the
22    party seeking the injunction must present evidence sufficient to clearly carry his burden of
23    persuasion on each requirement. Towery v. Brewer, 672 F.3d 650, 657 (9th Cir. 2012)
24    (citations omitted); see also Winter, 555 U.S. at 22 (explaining that a preliminary injunction
25    can issue only on “a clear showing that the plaintiff is entitled to such relief”).
26
27          Further, “[a] court’s equitable power lies only over the merits of the case or controversy
28    before it.” Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631, 633 (9th Cir.


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 1    2015). Accordingly, to prevail on a motion for preliminary injunctive relief, “there must be a
 2    relationship between the injury claimed in the motion for injunctive relief and the conduct
 3    asserted in the underlying complaint.”       Id. at 636; see also Hansen v. Parkhurst, No.
 4    EDCV1600459VBFDTB, 2016 WL 4136830, at *3 (C.D. Cal. July 29, 2016) (“a preliminary
 5    injunction may not issue when it is not of the same character as that which may be granted
 6    finally and when it deals with matter outside the issues in the underlying suit”) (quoting
 7    CHARLES ALAN WRIGHT, ET AL., 11 FEDERAL PRACTICE AND PROCEDURE section 2947, text
 8    with n.5 (3d ed. with April 2016 Supp.)). “Absent that relationship or nexus, the district court
 9    lacks authority to grant the relief requested.” Pac. Radiation Oncology, 810 F.3d at 636.
10
11                                                DISCUSSION
12
13          1. Plaintiff Lacks Standing to Obtain the Injunctive Relief Sought
14
15          Pursuant to these principles, Plaintiff’s request for preliminary injunctive relief must be
16    denied because the injury alleged in the Motion is unrelated to the conduct asserted in the
17    FAC. Defendants have properly framed this defect as a question of standing. (Opposition at
18    8.) As outlined above, the claims in the FAC arise from alleged civil rights violations resulting
19    from Ackerman’s alleged assault, battery, and excessive use of force against Plaintiff during
20    the October 2017 altercation at Strathearn Park. (FAC at 2-6.) These claims allege direct,
21    personal harm to Plaintiff. Plaintiff’s Motion, in contrast, argues that Plaintiff and the public
22    are likely to suffer irreparable harm if an injunction does not issue to enjoin the District’s
23    policy concerning the “peace officer” authority afforded to part-time ranger staff such as
24    Ackerman. The relief sought in the Motion seeks redress on behalf of the public with regard
25    to the District’s overall hiring policy for its part-time rangers, its background check procedures
26    and alleged violations of POST requirements, even though Plaintiff concedes POST has no
27    oversight over the District’s ranger policy. (See FAC at 3.) The FAC asserts no claims on
28    behalf of the general public.


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 1
 2          Plaintiff’s allegation of generalized harm to the public does not satisfy the Supreme
 3    Court’s requirement that a “plaintiff must generally assert his own legal rights and interests,
 4    and cannot rest his claim to relief on the legal rights or interests of third parties.” Warth v.
 5    Sedin, 422 U.S. 490, 499 (1975). Indeed, as Defendants emphasized, Plaintiff must assert a
 6    concrete injury in fact showing that the conduct at issue affects plaintiff in a specific and
 7    particularized way. See Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1548 (2016) (as revised May
 8    24, 2016.) Furthermore, Plaintiff wholly fails to demonstrate how two alleged grand jury
 9    investigations in 2007 and 2011 of the District’s ranger program, which did not involve
10    Plaintiff in any way, have any relevance to Plaintiff’s claims in this action.
11
12          Critical to establishing standing for a preliminary injunction is a showing of an
13    “imminent prospect of future injury.” Ervine Desert View Regional Med. Center Holdings,
14    LLC, 753 F.3d 862, 868 (9th Cir. 2014). Here, Plaintiff seeks injunctive relief against the
15    District’s authorization of peace officer authority to its part-time rangers, but Plaintiff fails to
16    demonstrate that he is under any actual threat of suffering “injury in fact” in the future because
17    Plaintiff now lives in Houston, Texas.      Plaintiff claims that he faces possible future harm
18    because he will have to be “face to face” with Ackerman, Kaminsky, and DeRosa during this
19    case, nothing in the FAC or the Motion suggests that Plaintiff is likely to ever encounter these
20    defendants anywhere other than in court proceedings. (See Memorandum at 18.) Nor is there
21    any indication that Plaintiff intends to visit the District’s public park facilities where he might
22    encounter these individual defendants functioning in their capacity as peace officers. Summers
23    v. Earth Island Institute, 555 U.S. 488, 493 (2009) (a plaintiff “bears the burden of showing
24    that he has standing for each type of relief sought.”); Shell Offshore, Inc. v. Greenpeace, Inc.,
25    709 F.3d 1281, 1286-87 (9th Cir. 2013) (standing for in junctive relief requires demonstration
26    of a real or immediate threat of irreparable harm).
27
28


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 1          Finally, Plaintiff points to two district court cases in Washington State and a decision of
 2    the Washington State Public Employment Relations Commission to assert that Ackerman has
 3    a history of civil rights violations. (Memorandum at 2-3.) But Plaintiff’s references to these
 4    unrelated matters are not admissible evidence relevant to this Motion or the underlying FAC,
 5    and they do not establish a threat of imminent harm to Plaintiff in the future.
 6
 7          Accordingly, the Motion must be denied. See Pac. Radiation Oncology, 810 F.3d at
 8    636 (affirming denial of injunction where motion for relief unrelated to the underlying claim).
 9
10          2. Even if Standing Were Proper, Plaintiff Is Not Entitled to the Extraordinary
11              Remedy of Injunctive Relief
12
13          As noted, a preliminary injunction is an “extraordinary remedy that may only be
14    awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at
15    22. To warrant injunctive relief, Plaintiff must establish: (1) he is likely to succeed on the
16    merits; (2) he is likely to suffer irreparable harm absent preliminary relief; (3) the balance of
17    the equities tips in favor of the requesting party; and (4) an injunction is in the public interest.
18    Id. at 20. Here, Plaintiff has not satisfied any of these requirements.
19
20          As Defendants correctly point out, to warrant a preliminary injunction, Plaintiff cannot
21    rest on mere allegations in the FAC. (Oppo. at 14.) Rather, Plaintiff must put forward evidence
22    of a likelihood that he will be injured by the conduct to be enjoined. (Id. (citing Doe v. Nat’l
23    Bd. of Med. Examiners, 199 F.3d 146, 152 (3rd Cir. 1999)).) In addition, here, Plaintiff’s
24    burden is “doubly demanding” because he seeks a mandatory injunction precluding the District
25    from continuing its existing policy of extending peace officer authority to its ranger staff and
26    mandatory injunctions are “particularly disfavored.” See Garcia v. Google, Inc., 786 F.3d
27
28


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 1        733, 740 (9th Cir. 2015); Marilyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571
 2        F.3d 873, 879 (9th Cir. 2009.)2
 3
 4              The Court now examines each of the factors in turn. In considering the likelihood of
 5        success on the merits, as noted above, the Court finds no connection between the civil rights
 6        and tort claims asserted in the FAC and the alleged irreparable injury to occur if the District is
 7        not enjoined from affording its rangers peace officer authority. Pac. Radiation Oncology, 810
 8        F.3d at 636. Even if Plaintiff succeeds on all of his civil rights and tort claims, his remedy
 9        would not be the injunctive relief sought in the Motion. Further, Defendants argue, Plaintiff’s
10        reliance on California Penal Code sections 832 and 538d is misplaced because neither of these
11        statutes provide a private right of action for either monetary or injunctive relief to enforce these
12        penal code provisions. (Opposition at 16-17.) The FAC seeks only monetary relief for
13        Plaintiff’s claims. Because even if Plaintiff were to prevail on his individual civil rights claims,
14        he would not be entitled to injunctive relief, Plaintiff cannot demonstrate a likelihood of
15        success on the merits of his effort to enjoin the District’s policy regarding its ranger staff.
16
17              As to the likelihood of irreparable harm if an injunction does not issue, as discussed
18        above, Plaintiff wholly fails to establish that he is likely to suffer imminent, irreparable harm
19        if the request for an injunction is not granted. Plaintiff does not live in California and has not
20        alleged that he is ever likely to visit any parks administered by the District again. Thus, this
21        factor too weighs against granting a preliminary injunction.
22
23              In addressing the third factor, the Court must weigh the equities to determine whether
24        the equities weigh in favor of the party seeking the preliminary injunction. Scotts Co. v. United
25        Industries Corp., 315 F.3d 264, 284 (4th Cir. 2002) (“the real issue in this regard is the degree
26
      2
               In the Opposition, Defendants argue that the Court should apply the heightened scrutiny applied to disfavored
27    injunctions to all four factors of the preliminary injunction analysis and not just to the likelihood of success factor. (Oppo.
      at 15.) The Court declines to reach that issue because it finds that the factors favor denial of preliminary injunction under
28    any standard.



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 1     of harm that will be suffered by the plaintiff or the defendant if the injunction is improperly
 2     granted or denied.”). Here, Plaintiff seeks an order that would effectively suspend the way the
 3     District deploys its rangers in the interest of public safety and impede the ability of rangers to
 4     function in the fashion for which they were hired. The resulting disruption to the status quo
 5     would be immediate and severe in terms of public safety in the District’s parks. As Defendants
 6     emphasize, “the rangers themselves would be prevented from pursuing their employment as
 7     peace officers for the duration of the trial, with the associated loss of income that would entail.”
 8     (Oppo. at 18-19.) Plaintiff, on the other hand, lives in Texas, has not demonstrated he has any
 9     intention of being on District property again where rangers serve as peace officers, and his
10     claims arise from a single interaction with Defendants on a single occasion for a family
11     wedding. The equities here clearly weigh against Plaintiff as the moving party.
12
13           Finally, Plaintiff has not established that an injunction is in the public interest. Indeed,
14     as noted above, the disruption to the District’s deployment of its ranger staff in District parks,
15     the curtailment of rangers’ lawful employment and income if an injunction is granted is not in
16     the public interest. The impact on nonparties to this lawsuit, including the general public, of
17     granting the relief sought by the Motion go far beyond the private interests of Plaintiff’s civil
18     rights claims involving his personal encounter with ranger personnel on October 17, 2017.
19     Plaintiff has not presented any evidence that the public interest would be served if the
20     preliminary injunction is granted.
21
22           Accordingly, this factor weighs against granting the preliminary injunction.
23
24           Consequently, because Plaintiff has wholly failed to demonstrate that he is entitled to
25     the extraordinary remedy of injunction, IT IS THEREFORE ORDERED that Plaintiff’s
26     Motion for a Preliminary Injunction is DENIED.
27
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 1     DATED: March 13, 2018
 2                                                 _______________________________
 3                                                         GEORGE H. WU
                                                   UNITED STATES DISTRICT JUDGE
 4
 5     Presented by:
 6
       __________________________________
 7            KAREN L. STEVENSON
 8     UNITED STATES MAGISTRATE JUDGE

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